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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA


    DOGGIE DENTAL INC., et al.,

                                  Plaintiffs,                    Civil Action No. 19-01627

    V.

    AHUI, et al.,

                                  Defendants.                     FILED UNDER SEAL



     1) TEMPORARY RESTRAINING ORDER; 2) ORDER RESTRAINING ASSETS AND
    MERCHANT STOREFRONTS; 3) ORDER TO SHOW CAUSE WHY A PRELIMINARY
     INJUNCTION SHOULD NOT ISSUE; AND 4) ORDER AUTHORIZING EXPEDITED
                               DISCOVERY

           This matter is before the Court upon Plaintiffs' Ex Parte Application for the following: 1)

    a temporary restraining order; 2) an order restraining assets and Merchant Storefronts (as defined

    infra); 3) an order to show cause why a preliminary injunction should not issue; and 4) an order

    authorizing expedited discovery against the Defendants identified on Schedule "A" to the

    Complaint and attached hereto (collectively, the "Defendants"). The Court has considered the

    Application, the evidence in the record, and the applicable law.

           By the instant Application, Plaintiffs Doggie Dental Inc. and Peter Dertsakyan move ex

    parte pursuant to 35 U.S.C. § 283, Federal Rules of Civil Procedure 64 and 65, and The All

    Writs Act, 28 U.S.C. § 1651(a), for entry of a temporary restraining order and an order

    restraining assets and Merchant Storefronts, for violations of the Patent Act. Because Plaintiffs

    have satisfied the requirements for the issuance of a temporary restraining order, the Court grants

    Plaintiffs' Application.
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                     FACTUAL FINDINGS & CONCLUSION OF LAW

       1.      The Court finds that Plaintiffs, Doggie Dental, Inc. ("Doggie Dental") and Peter

Dertsakyan ("Dertsakyan"), are likely to prevail on their Patent Act claim at trial, and that there

is a substantial basis to support each of the below findings.

       2.      Dertsakyan is the inventor of the BRISTLY® dog toothbrush ("Plaintiffs'

Product") and the owner of intellectual property related thereto; Doggie Dental is the exclusive

licensee of such intellectual property. Plaintiffs developed and sell a unique and revolutionary

product under the federally registered trademark BRISTLY® ("Plaintiffs' Mark") that safely and

easily permits dogs to brush their own teeth removing plaque and tarter.

       3.      Dertsakyan is the owner of U.S. Trademark Registration No. 5,815,298 for

BRISTLY directed to "Non-medicated dental preparations for pets, namely, toothpaste and

preparations for removing plaque; Home dental care products for dogs and cats, namely,

toothpaste; Dental care and oral hygiene products for pets, namely, tooth cleaning preparations;

Non-edible dental chews for pets; Non-medicated oral dental chews for dogs."

       4.      Dertsakyan is the owner of U.S. Trademark Registration No. 5,844,832 for

BRISTLY directed to "Toothbrushes for animals; Toothbrushes for pets; Home dental care

products for dogs and cats, namely, toothbrush."

       5.      Dertsakyan is the owner of U.S. copyright registration VA 2-122-455 directed to

various photographs related to the BRISTLY® dog toothbrush (the "Plaintiffs' Works").

Dertsakyan is also the owner of unregistered copyrights related to the Plaintiffs' Product.

       6.      In addition, Dertsakyan is also the owner of various design patent applications

directed to the BRISTLY® dog toothbrush, including an issued European Registered Community



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Design (005818606-0001), a pending U.S. design patent application, and a pending Chinese

design patent application.

        7.     Dertsakyan is the owner of U.S. Patent No. 10477838 for "Pet chew toy for dental

self-cleaning by domestic pets," (Plaintiffs' Patent" or "the '838 Patent").

        8.     Defendants, by operating Internet based e-commerce stores, and fully interactive,

commercial Internet websites operating under Defendants' respective seller identities set forth on

Schedule "A" hereto (the "Seller IDs"), have advertised, promoted, sold, and offered for sale that

Plaintiffs have determined are not genuine BRISTLY® products and infringe at least one claim of

the '838 patent.

       9.      Through the e-commerce marketplace platform, Plaintiffs accessed all of the e-

commerce stores operating under Defendants' Seller IDs and captured the Defendants' listings at

issue on the e-commerce stores. At the conclusion of the process, the detailed webpages and

photographs were inspected by Plaintiffs' representative who confirmed that each Defendant is

offering for sale products and infringe upon at least one claim of the Plaintiffs' Patent

("Infringing Products").

       10.     Plaintiffs, as well as consumers and animal owners, are likely to suffer immediate

and irreparable losses, damages and injuries before Defendants can be heard in opposition,

unless Plaintiffs' Application for ex parte relief is granted. There is good cause to believe that

the unauthorized and unlicensed offering for sale and sale of Infringing Products will continue in

the marketplace; that consumers are likely to be misled, confused, and disappointed by the

quality of the products so advertised, and that Plaintiffs may suffer loss of sales for their genuine

products and an unnatural erosion of the legitimate marketplace in which they operate. There is

also good cause to believe that if Plaintiffs proceed on notice to Defendants of this Application,


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Defendants can easily and quickly change the ownership or modify e-commerce store account

data and content, change payment accounts, redirect consumer traffic to other seller

identification names, and transfer assets and ownership of Seller IDs, thereby thwarting

Plaintiffs' ability to obtain meaningful relief. As other courts have recognized, proceedings

against those who deliberately traffic in infringing merchandise are often useless if notice is

given to the adverse party.

        11.    The balance of potential harm to Defendants of being prevented from continuing

to profit from their illegal and infringing activities if a temporary restraining order is issued is far

outweighed by the potential harm to Plaintiffs, their reputation, and their goodwill as a

manufacturer and distributor of quality products, if such relief is not issued.

        12.    The public interest favors issuance of the temporary restraining order in order to

protect Plaintiffs' interests and protect the public from being deceived and defrauded by the

passing off of Defendants substandard goods as Plaintiffs' genuine goods.

        13.    Under Pennsylvania law this Court may issue a prejudgment asset restraint where

Plaintiffs' complaint asserts a claim for money damages. Therefore, this Court has the authority

to grant Plaintiffs' request for a prejudgment asset freeze to preserve the relief sought by

Plaintiffs and preserve the Defendants' ability to at least partially satisfy a judgment.

        14.     Similarly, if Defendants are given notice of the Application, they are likely to

destroy, move, hide or otherwise make inaccessible to Plaintiffs the records and documents

relating to Defendants' illegal and infringing activities. Therefore, Plaintiffs have good cause to

be granted expedited discovery.




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                                                    ORDER

       Based on the foregoing findings of fact and conclusions of law, Plaintiffs' Application is

hereby GRANTED as follows (the "Order"):

                                    I. Temporary Restraining Order


A. IT IS HEREBY ORDERED, as sufficient cause has been shown, that each Defendant, its

   officers, directors, employees, agents, subsidiaries, distributors, and all persons in active

   concert or participation with any Defendant having notice of this Order are hereby restrained

   as follows:

   (I) from (a) their unauthorized and unlicensed use of Plaintiffs' Patent, distribution,

       marketing, advertising, offering for sale, or sale of any Infringing Products; and (b)

       shipping, delivering, holding for sale, transferring or otherwise moving, storing,

       distributing, returning, or otherwise disposing of, in any manner products that infringe

       upon at least one claim of the Plaintiffs Patent;

   (2) from secreting, concealing, destroying, altering, selling off, transferring or otherwise

       disposing of and/or dealing with any computer files, data, business records, documents or

       any other records or evidence relating to their User Accounts, 1 Merchant Storefronts 2 or

       any money, securities or other property or assets of Defendants (hereinafter collectively

       referred to as "Defendants' Assets");

   As defined in the Application, a "User Account" is, as defined in the Complaint, any and all accounts with
   online marketplace platform(s) Amazon.com, as well as any and all as yet undiscovered accounts with
   additional online marketplace platforms held by or associated with Defendants, their respective officers,
   employees, agents, servants and all other persons in active concert with any of them.

   As defined in the Application, a "Merchant Storefront" is any and all User Accounts through which Defendants,
   their respective officers, employees, agents, servants and all persons in active concert or participation with any
   of them operate storefronts to manufacture, import, export, advertise, market, promote, distribute, display, offer
   for sale, sell and/or otherwise deal in products which are held by or associated with Defendants, their respective
   officers, employees, agents, servants and all persons in active concert or participation with any of them.


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(3) effecting assignments or transfers, forming new entities or associations, or creating

   and/or utilizing any other platform, User Account, Merchant Storefront or any other

   means of importation, exportation, advertising, marketing, promotion, distribution, and/or

   display for the purposes of circumventing or otherwise avoiding the prohibitions set forth

   in this Order;

(4) each Defendant, its officers, directors, employees, agents, subsidiaries, distributors, and

   all persons in active concert or participation with any Defendant having notice of this

   Order shall immediately discontinue offering for sale the Infringing Products within

   metatags or other markers within website source code, from use on any web page

   (including as the title of any product listing), from any advertising links to other websites,

   from search engines' databases or cache memory, and any other form of use such terms

   or works which is visible to a computer user or serves to direct computer searches to

   Internet based e-commerce stores owned, or operated by each Defendant, including the

   Merchant Storefronts operating under the Seller IDs;

(5) each Defendant shall not transfer ownership of the User Accounts or Merchant

   Storefronts associated with the Seller IDs;

(6) each Defendant shall preserve copies of all computer files relating to the use of any User

   Accounts and/or Merchant Storefronts under the Seller IDs and shall take steps necessary

   to retrieve computer files relating to the use of the User Accounts and/or Merchant

   Storefronts under their Seller IDs that may been deleted before the entry of this Order;

(7) upon receipt of notice of this Order, Defendants and all financial institutions, payment

   processors, banks, escrow services, money transmitters, or marketplace platforms,

   including but not limited to Amazon Services LLC d/b/a Amazon.com ("Amazon")


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    ("Third Party Service Provider(s)"), Amazon Payments, Inc. d/b/a Pay.amazon.com

    ("Amazon Pay") ("Financial Institution(s)"), and their related companies and affiliates,

    shall immediately identify and restrain all funds, as opposed to ongoing account activity,

    in or which are hereafter transmitted into the accounts related to the Defendants as

    identified on Schedule "A" hereto, as well as all funds in or which are transmitted into (i)

    any other accounts of the same customer(s); (ii) any other accounts which transfer funds

    into the same financial institution account(s), and/or any of the other accounts subject to

    this Order; and (iii) any other accounts tied to or used by any of the Seller IDs identified

    on Schedule "A" hereto;3

(8) upon receipt of notice of this Order, Defendants and all financial institutions, payment

    processors, banks, escrow services, money transmitters, or marketplace platforms,

    including but not limited to the Third Party Service Provider(s) and the Financial

    Institution(s), shall immediately divert to a holding account for the trust of the Court all

    funds in or which are hereafter transmitted into all accounts related to Defendants

    identified in Schedule "A" hereto, and associated payment accounts, and any other

    accounts for the same customer(s) as well as any other accounts which transfer funds into

    the same financial institution account(s) as any other accounts subject to this Order;

(9) The Third Party Service Provider(s) and Financial Institution(s) shall further, within five

    (5) business days ofreceiving this Order, provide Plaintiffs' counsel with all data that

    details (i) an accounting of the total funds restrained and identifies the financial

    account(s) which the restrained funds are related to, and (ii) the account transactions


This Order contemplates that discovery may reveal that Defendants may have other user accounts operated by
other Third Party Service Providers and Financial Institutions and that the additionally discovery Third Party
Service Providers and Financial Institutions, once identified and provided with notice, shall also be subject to
the discovery, restraints and injunctions set forth in this Order.


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   related to all funds transmitted into financial account(s) which have been restrained. Such

   restraining of the funds and the disclosure of the related financial institution account

   information shall be made without notice to the account holders, until after those

   accounts are restrained. No funds restrained by this Order shall be transferred or

   surrendered by any Third Party Service Provider or Financial Institution for any purpose

   (other than pursuant to a chargeback made pursuant to that Third Party Service Provider

   or Financial Institution's security interest in the funds) without express authorization of

   this Court;

(10) Upon Plaintiffs' request, any Internet marketplace who is provided with notice of this

   Order, including but not limited to the Third Party Service Provider(s) and Financial

   Institution(s), shall immediately cease fulfillment of and sequester Defendants' inventory

   assets corresponding to the Seller IDs identified on Schedule "A" hereto in its inventory,

   possession, custody, or control, and hold such goods in trust for the Court during

   pendency of this action;

(11) this Order shall apply to the Seller IDs, associated Accounts and Merchant Storefronts,

   and any other seller identification names, Accounts or Merchant Storefronts, Third Party

   Service Provider or Financial Institution accounts which are being used by Defendants

   for the purpose of infringing on at least one claim of the Plaintiffs' Patent;

(12) Defendants and all financial institutions, payment processors, banks, escrow services,

   money transmitters, or marketplace platforms, including but not limited to the Third Party

   Service Provider(s) and the Financial Institution(s), subject to this Order may petition the

   Court to modify the asset restraint set out in this Order; and




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    ( 13) this Order shall remain in effect until the date for the hearing to show cause why a

       preliminary injunction should not be issued as set forth below, or until such further dates

       as set by the Court or stipulated by the parties.

B. IT IS HEREBY ORDERED, as sufficient cause has been shown, that upon Plaintiffs'

    request, any Internet marketplace who is provided with notice of this Order, including but not

    limited to the Third Party Service Providers and Financial Institutions, is hereby restrained

   and enjoined from engaging in any of the following acts or omissions pending the hearing

   and determination of Plaintiffs' Application for a preliminary injunction, or until further

   order of the Court:

   (1) secreting, concealing, transferring, disposing of, withdrawing, encumbering or

       paying Defendants' Assets from or to financial accounts associated with or

       utilized by any Defendant or any Defendant's User Accounts or Merchant

       Storefront(s) (whether said account is located in the U.S. or abroad)

       ("Defendants' Financial Accounts") until further ordered by this Court; and

   (2) within (5) days after receiving notice of this Order, providing services to Defendants,

       Defendants' User Accounts and Defendants' Merchant Storefronts, including, without

       limitation, continued operation of Defendants' User Accounts and Merchant Storefronts,

       and any other listings linked to the same sellers or linked to any other alias seller

       identification names being used and/or controlled by Defendants.

                   II. Order to Show Cause Why a Preliminary Injunction
                           Should Not Issue and Service of Order

    A. Defendants are hereby ORDERED to show cause before this Court in the United States

District Court for the Western District of Pennsylvania, the U.S. Courthouse, 700 Grant Street,



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Pittsburgh, Pennsylvania in Courtroom No. 6A on the       e~ay     of   :f'~ ,202!:) at
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                or at such other time that this Court deems appropriate, why a preliminary

injunction, pursuant to FRCP 65(a), should not issue. Defendants are on notice that failure to

appear at the hearing may result in the imposition of a preliminary injunction against

them.

    B. Opposing papers, if any, shall be filed electronically with the Court and served on

Plaintiffs' counsel by delivering copies thereof to the office of Ference & Associates LLC at 409

Broad Street, Pittsburgh, Pennsylvania 15143 b e f o r ~            ~ , 2 ~ Plaintiffs shall
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file any Reply papers on or before .JA/J Ui'fa1   ] , 20 '10, if notice as set out below has been
given to all Defendants.

     C. After Plaintiffs' counsel has received confirmation from the Third Party Service

Providers and Financial Institutions or otherwise, regarding the restraint of funds directed herein,

Plaintiffs' counsel shall file notice of such confirmation on the docket under seal without the

need for redaction within twenty-four (24) hours of the receipt of confirmation. Additionally,

after receiving the aforementioned confirmation regarding the restraint of funds, Plaintiffs shall

serve copies of the Complaint, the Application, this Order, and any Discovery on each Defendant

via their corresponding email/online contact form provided on the Internet based e-commerce

stores operating under the respective Seller IDs, or by providing a copy of this order by e-mail to

the marketplace platform, which in tum notifies each Defendant of the Order, or by other means

reasonably calculated to give notice which is permitted by the Court. In addition, Plaintiffs shall

post copies of the Complaint, Application, this Order, any Discovery, and all other pleadings and




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documents filed in this action on a website designated by Plaintiffs, 4 and shall provide the

website address to Defendants via e-mail/online contact form, and such notice so given shall be

deemed good and sufficient service thereof. Plaintiffs shall continue to provide notice of these

proceedings and copies of the documents on file in this matter to Defendants by regularly

updating the website designated by Plaintiffs or by other means reasonably calculated to give

notice which is permitted by the Court, or as otherwise directed by the Court.

                              III. Order Authorizing Expedited Discovery

A. IT IS FURTHER ORDERED, as sufficient cause has been shown, that:

    (1) Plaintiffs may propound interrogatories pursuant to Rules 26 and 33 of the Federal Rules

        of Civil Procedure, and Defendants, their respective officers, employees, agents, servants

        and attorneys, and all persons in active concert or participation with any of them, who

        receive actual notice of this Order, shall provide written responses under oath to such

        interrogatories within fourteen (14) days of service to Plaintiffs' counsel.

    (2) Plaintiffs may serve requests for the production of documents pursuant to FRCP 26 and

        34, and Defendants, their respective officers, employees, agents, servants and attorneys,

        and all persons in active concert or participation with any of them, who receive actual

        notice of this Order, shall produce all documents responsive to such requests within

        fourteen ( 14) days of service to Plaintiffs' counsel.

    (3) Plaintiffs may serve requests for admissions pursuant to FRCP 26 and 36, and

        Defendants, their respective officers, employees, agents, servants and attorneys, and all


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    Rule 65 has been interpreted to require that a party have notice of the motion and hearing; perfecting service on
    a defendant is not a prerequisite to the entry ofa preliminary injunction order. Pate v. Gov't of the Virgin
    Islands, 2015 WL 1937701 n.9 (VI Sup. Ct. April 17, 2015); Corrigan Dispatch Co. v. Casa Guzman, S.A., 569
    F.2d 300, 302 (5th Cir. 1978).


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      persons in active concert or participation with any of them, who receive actual notice of

      this Order, shall provide written responses under oath to such requests within fourteen

      (14) days of service to Plaintiffs' counsel.

B. IT IS FURTHER ORDERED, as sufficient cause has been shown, that within fourteen (14)

   days ofreceiving actual notice of this Order, Defendants and all financial institutions,

   payment processors, banks, escrow services, money transmitters, or marketplace platforms,

   including but not limited to the Third Party Service Provider(s) and the Financial

   Institution(s), shall provide to Plaintiffs' counsel all documents and records in their

   possession, custody or control (whether located in the U.S. or abroad) relating to Defendants'

   User Accounts and Defendants' Merchant Storefronts, including, but not limited to,

   documents and records relating to:

   (1) any and all User Accounts and Defendants' Merchant Storefronts and account details,

      including, without limitation, identifying information and account numbers for any and

      all User Accounts and Defendants' Merchant Storefronts that Defendants have ever had

      and/or currently maintain with the respective Third Party Service Provider;

   (2) the identities, location and contact information, including any and all e-mail addresses of

      Defendants that were not previously provided;

   (3) the Defendants' methods of payment, methods for accepting payment and any and all

      financial information, including, but not limited to, information associated with

      Defendants' User Accounts and Defendants' Merchant Storefronts, a full accounting of

      Defendants' sales history and listing history under such accounts and Defendants'

      Financial Accounts associated with Defendants' User Accounts and Defendants'

      Merchant Storefronts; and


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   (4) Defendants' unauthorized and unlicensed use of Plaintiffs' Patent.

                                         V. Security Bond

       IT IS FURTHER ORDERED that Plaintiffs shall place security (corporate surety bond,

cash, certified check, or attorney's check) in the amount of Five Thousand Dollars ($5,000.00)

with the Court, which amount is determined adequate for the payment of any damages any

person may be entitled to recover as a result of an improper or wrongful restraint ordered

hereunder.

                                           VI. Summons

       IT IS FURTHER ORDERED that the Clerk of the Court shall issue a single original

summons in the name of"AHUI and all other Defendants identified in the Complaint" that will

apply to all Defendants. Plaintiffs shall give notice (via electronic means) of this Order, all other

Orders entered at anytime in this case, and all pleadings and papers in this action to all entities

set out in Paragraph l(A)(7) above, and shall give notice by authorized service of this Order, all

other Orders, and all papers in this case to all Defendants within twenty-four (24) hours of notice

that all relevant accounts have been frozen.

SO ORDERED.

ENTERED this,1b~ay of December, 2019, at\ :~5' £_.m. EST
Pittsburgh, Pennsylvania

Unless otherwise extended, this Restraining Order expires at    I\JQ:;,N-- EST,       i/!i-,    2020



                                               ~
                                               MARK R. HORNAK
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                                               CHIEF UNITED STATES DISTRICT JUDGE




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